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                              Mohrman, Kaardal & Erickson, P.A.
                                          Attorneys and Counselors at Law

                                               150 South Fifth Street
                                                     Suite 3100
                                            Minneapolis, Minnesota 55402

Erick G. Kaardal                                                                                 Telephone: 612/465-0927
                                                                                                  Facsimile: 612/341-1076
                                                                                       Writer’s E-Mail: Kaardal@mklaw.com



                                                 January 5, 2021

        Via ECF

        The Honorable James E. Boasberg
        United States District Court
        The U.S. District Court for the District of Columbia
        333 Constitution Avenue N.W.
        Washington D.C. 20001

                   Re:   WISCONSIN VOTERS ALLIANCE et al v. PENCE et al,
                         Court Case No. 1:20-cv-03791-JEB

        Dear Judge Boasberg:

                 Yesterday’s Order indicated we had not yet filed proofs of service for the lawsuit. Yet, as
        I read it, the December 23, 2020 Minute Order (“[a]s soon as Plaintiffs file proof of service on all
        defendants…”) required filing proof of service on “all” defendants before a briefing schedule
        and hearing date would be set. Accordingly, I set out to file the proofs of service after all the
        defendants were served—in order that the briefing schedule and hearing date would be set.

                 Please find attached my chart and proofs of service to date. The attachments document
        that all parties were mailed USPS (certified, express mail, adult signature) packages on the date
        filed of December 22, 2020. As to personal service, under the governing Federal Rules of Civil
        Procedure, all parties, except one individual in Arizona and one individual in Wisconsin, have
        been served. Due to COVID-19 protocols, closed government office buildings and difficulties
        reaching people over the holiday season, some governmental Defendants were more difficult to
        complete service on than others. However, some governmental Defendants, but not all, were
        willing to waive service as set forth in the enclosed chart and proofs of service.

                                                      Sincerely,

                                                       /s/Erick G. Kaardal
                                                      Erick G. Kaardal
        EGK/mg
        Enclosure
        cc:    Counsel of Record (via ECF)
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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


WISCONSIN VOTERS ALLIANCE, et al.,
                                                         Civil Action No. 20-3791 (JEB)
                       Plaintiffs,

v.

VICE PRESIDENT MICHAEL R.
PENCE, et al.,

                       Defendants.



                                           Notice Personal Service            Waiver
                                           via Mail (Fed.R.Civ.Pro.        (Fed.R.Civ.Pro.
                                                    4(e))                       4(d))
VICE PRESIDENT MICHAEL                     12/22    Via US Atty for       NOT
RICHARD PENCE,                                      DC 12/23 per          APPLICABLE
in his official capacity as President of            Fed.R.Civ.Pro.
the United States Senate,                           4(i)(2)
Office of the Vice President
1600 Pennsylvania Avenue, N.W.
Washington, DC 20500;

U.S HOUSE OF                               12/22    Via US Atty for       NOT
REPRESENTATIVES,                                    DC 12/23 per          APPLICABLE
U.S. Capitol                                        Fed.R.Civ.Pro.
First St SE, Washington, DC 20004                   4(i)(1) and 4(i)(2)
Washington, DC 20515;

U.S. SENATE,                               12/22    Via US Atty for       NOT
U.S. Capitol                                        DC 12/23 per          APPLICABLE
First St SE, Washington, DC 20004                   Fed.R.Civ.Pro.
Washington, DC 20515;                               4(i)(2)




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ELECTORAL COLLEGE,                  12/22   Via US Atty for    NOT
U.S. Capitol                                DC 12/23 per per   APPLICABLE
First St SE, Washington, DC 20004           Fed.R.Civ.Pro.
Washington, DC 20515;                       4(i)(2)

GOVERNOR TOM WOLF OF                12/22   12/24 via Gov’s    NOT
PENNSYLVANIA,                               Gen Counsel and    APPLICABLE
in his official capacity,                   via AG
508 Main Capitol Building
Harrisburg, PA 17120;

SPEAKER BRYAN CUTLER OF          12/22      12/28              NOT
THE PENNSYLVANIA HOUSE OF                                      APPLICABLE
REPRESENTATIVES, in his official
capacity,
139 Main Capitol Building
PO Box 202100
Harrisburg, PA 17120-2100;

SENATE MAJORITY LEADER              12/22   12/28              NOT
JAKE CORMAN                                                    APPLICABLE
OF THE PENNSYLVANIA
SENATE,
in his official capacity,
Senate Box 203034
Harrisburg, PA 17120-3034;

GOVERNOR GRETCHEN                   12/22   NOT                12/29
WHITMER OF MICHIGAN,                        APPLICABLE
in her official capacity,
111 S Capitol Avenue
Lansing, Michigan 48933;

SPEAKER LEE CHATFIELD OF            12/22   NOT                12/29
THE MICHIGAN                                APPLICABLE
HOUSE OF REPRESENTATIVES,
in his official capacity,
124 N Capitol Avenue
Lansing, Michigan 48933;




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SENATE MAJORITY LEADER           12/22    NOT              12/29
MIKE SHIRKEY                              APPLICABLE
in his official capacity,
S-102 Capitol Building
Lansing, Michigan 48933;

GOVERNOR TONY EVERS OF           12/22    Via AG 12/23     NOT
WISCONSIN,                                Via email 1/4    APPLICABLE
in his official capacity,
P.O. Box 7863
Madison, Wisconsin 53707;

SPEAKER ROBIN VOS OF THE         12/22    Service in       NOT
WISCONSIN                                 Progress         APPLICABLE
STATE ASSEMBLY,
in his official capacity,
960 Rock Ridge Road
Burlington, Wisconsin 53105;

SENATE MAJORITY LEADER           12/22    12/31            NOT
HOWARD MARKLEIN                                            APPLICABLE
OF THE WISCONSIN SENATE,
in his official capacity,
PO Box 7882
Madison, Wisconsin 53707;


GOVERNOR BRIAN KEMP OF           12/22    12/26            NOT
GEORGIA,                                                   APPLICABLE
in his original capacity,
111 State Capitol
Atlanta, Georgia 30334;

SPEAKER DAVID RALSTON OF         12/22    12/23            NOT
THE GEORGIA HOUSE                                          APPLICABLE
OF REPRESENTATIVES,
in his official capacity,
332 State Capitol
Atlanta, Georgia 30334;




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PRESIDENT PRO TEMPORE                    12/22   12/26            NOT
BUTCH MILLER OF THE                                               APPLICABLE
GEORGIA SENATE,
in his official capacity,
321 State Capitol
Atlanta, Georgia 30334;

GOVERNOR DOUG DUCEY OF                   12/22   12/24            NOT
ARIZONA,                                                          APPLICABLE
in his official capacity,
1700 W. Washington Street
Phoenix, Arizona 85007;

SPEAKER RUSSELL BOWERS OF                12/22   Service in       NOT
THE ARIZONA HOUSE OF                             Progress         APPLICABLE
REPRESENTATIVES,
in his official capacity,
1700 West Washington, Room 223
Phoenix, Arizona 85007;

SENATE MAJORITY LEADER                   12/22   NOT              1/5/21
RICK GRAY                                        APPLICABLE
OF THE ARIZONA SENATE,
in his official capacity,
1700 West Washington, Room 301
Phoenix, Arizona 85007

Attorney General William Barr            12/23   12/23 per        NOT
U.S. Department of Justice                       Fed.R.Civ.Pro.   APPLICABLE
950 Pennsylvania Avenue NW                       4(i)(1)(B)
Washington, DC 20530-0001

Civil Process Clerk                      12/23   12/23 per        NOT
United States Attorney’s Office                  Fed.R.Civ.Pro.   APPLICABLE
555 Fourth Street NW                             4(i)(1)(A)(ii)
Washington, DC 20530

United State Attorney for the District           12/23 per        NOT Applicable
of Columbia                                      Fed.R.Civ.Pro.
United States Attorney’s Office                  4(i)(1)(A)(i)
555 4th St NW
Washington, DC 20530


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